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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



RONNIE MAURICE STEWART, et al.,

            Plaintiffs,
                                                  Civil Action No. 1:18-cv-152 (JEB)
   v.


ALEX M. AZAR II, et al.

            Defendants.


                                      EXHIBIT LIST

Exhibit A      Virginia House Passes Medicaid Expansion, Sends to Senate, Washington Post (Apr. 17,
               2018)

Exhibit B      Excerpts from KanCare Approval, U.S. Dep’t of Health and Human Servs., Ctrs.
               for Medicare and Medicaid Servs. (Dec. 12, 2012)

Exhibit C      Excerpts from Haw. QUEST Integration Medicaid Section 1115 Demonstration
               Project Approval, U.S. Dep’t of Health and Human Servs., Ctrs. for Medicare and
               Medicaid Servs. (Oct. 26, 2015)

Exhibit D      Excerpts from Utah Primary Care Network (PCN) Section 1115 Demonstration
               Project Approval, U.S. Dep’t of Health and Human Servs., Ctrs. for Medicare and
               Medicaid Servs. (Dec. 16, 2016)

Exhibit E      Excerpts from Mont. Health and Economic Livelihood Partnership (HELP)
               Section 1115 Demonstration Plan Approval (Nov. 23, 2016)

               Excerpts from Mont. Basic Medicaid for Able-Bodied Adults Section 1115
               Demonstration Project Approval, U.S. Dep’t of Health and Human Servs., Ctrs.
               for Medicare and Medicaid Servs. (Nov. 24, 2010)

Exhibit F      Excerpts from Healthy Ind. Plan (HIP) 2.0 Section 1115 Demonstration Project
               Approval, U.S. Dep’t of Health and Human Servs., Ctrs. for Medicare and
               Medicaid Servs. (Jan. 27, 2015)

Exhibit G      Excerpts from Me. Medicaid Section 1115 Demonstration Project Approval &
               Extensions, U.S. Dep’t of Health and Human Servs., Ctrs. for Medicare and
               Medicaid Servs. (Dec. 8, 2017)
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Exhibit H     Wis. BadgerCare Reform Section 1115 Demonstration Project Approval, U.S.
              Dep’t of Health and Human Servs., Ctrs. for Medicare and Medicaid Servs. (Dec.
              30, 2013)

Exhibit I     Del. Diamond State Health Plan Section 1115 Demonstration Project Waiver List,
              U.S. Dep’t of Health and Human Servs., Ctrs. for Medicare and Medicaid Servs.

Exhibit J     Okla. SoonerCare Section 1115 Demonstration Project Waiver List, U.S. Dep’t of
              Health and Human Servs., Ctrs. for Medicare and Medicaid Servs.

Exhibit K     Excerpts from Healthy Mich. Section 1115 Demonstration Project Approval, U.S.
              Dep’t of Health and Human Servs., Ctrs. for Medicare and Medicaid Servs. (Dec.
              30, 2013)

Exhibit L     Excerpts from Ark. Safety Net Benefit Program Section 1115 Demonstration
              Project Approval, U.S. Dep’t of Health and Human Servs., Ctrs. For Medicare
              and Medicaid Servs. (Dec. 29, 2011)

Exhibit M     Excerpts from N.H. Health Prot. Program Premium Assistance Section 1115
              Demonstration Project Approval, U.S. Dep’t of Health and Human Servs., Ctr.
              for Medicare and Medicaid Servs. (June 23, 2015)

Exhibit N     Excerpts from TennCare II Medicaid Section 1115 Demonstration Approval, U.S.
              Dep’t of Health and Human Servs., Ctrs. for Medicare and Medicaid Servs. (June
              15, 2012)

Exhibit O     Or. Health Plan 2 Section 1115 Demonstration Project Approval Letter, U.S.
              Dep’t of Health and Human Servs. Ctrs. for Medicare and Medicaid Servs. (Oct.
              15, 2002)

Exhibit P     Excerpts from Iowa Wellness Plan Section 1115 Demonstration Project Non-
              emergency Medical Transportation Waiver Extension Approval, U.S. Dep’t of
              Health and Human Servs. Ctrs. for Medicare and Medicaid Servs. (May 31, 2016)

Exhibit Q     Letter from Seema Verma, Admin., Ctrs. For Medicare & Medicaid Servs., U.S.
              Dept. of Health & Human Servs., to Cindy Gillespie, Dir., Ark. Dep’t of Human
              Servs. (Mar. 5, 2018)

Exhibit R     Letter from Demetrios Kouzoukas, Dep. Admin., Ctrs. For Medicare & Medicaid
              Servs., U.S. Dep’t of Health & Human Servs., to Allison Taylor, Medicaid Dir.,
              Ind. Family & Soc. Servs. Admin. (Feb. 1, 2018)
